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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

     WILLIAM MARTIN,

                  Plaintiff,                           Civil Action No. 1:24-cv-07972

                       -v-                             Removed from the Supreme Court of the State
                                                       of New York, County of Kings
     THE NEW YORK PUBLIC LIBRARY,
     ZENA GEORGE, CHARMAINE                            State Court Index No. 525645/2024
     MCFARLANE, BEN SAPADIN,
     TERRANCE NEAL, AND JESSICA
     ROSENTHAL,

                  Defendants.


                                       NOTICE OF REMOVAL

         Defendants The New York Public Library, 1 Zena George, Charmaine McFarlane, Ben

 Sapadin, Terrance Neal, and Jessica Rosenthal, for their Notice of Removal, state as follows:

         1.      On September 23, 2024, Plaintiff William Martin (“Plaintiff”) commenced an

 action before the New York State Supreme Court, Kings County, Index No. 525645/2024, against

 Defendants The New York Public Library, Zena George, Charmaine McFarlane, Ben Sapadin,

 Terrance Neal, and Jessica Rosenthal (“Defendants”), by filing: a Summons with Notice and

 Verified Complaint (“Complaint”), along with other supporting documents. The Summons with

 Notice and Complaint are attached to the Declaration of Nicholas M. Reiter, Esq. (“Reiter Decl.”)

 as Exhibits A and B, respectively.

         2.      On November 5, 2024, Defendants voluntarily accepted service of the Complaint

 and Plaintiff consented to the adjournment of Defendants’ deadline to move, answer, or otherwise

 respond to the Complaint through December 23, 2024. See Ex. K to Reiter Decl.


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  Defendant The New York Public Library’s full and accurate name is The New York Public Library, Astor, Lenox
 and Tilden Foundations.


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         3.       In the Complaint, Plaintiff alleges causes of action for: (i) “discrimination” (see Ex.

 B to Reiter Decl. ¶¶ 57-80); (ii) “workplae [sic] harassment” (see id. ¶¶ 81-87); (iii) “intentional

 infliction of emotional distress” (see id. ¶¶ 88-92); (iv) “negligent infliction of emotional distress”

 (see id. ¶¶ 93-97); (v) “defamation” (see id. 98-104); and (vi) an order granting him a medical

 leave of absence pursuant to the federal Family Medical Leave Act, 29 U.S.C. §§ 2601 et seq.

 (“FMLA”) (see id. ¶¶ 105-110).

         4.       Plaintiff does not identify a specific federal, state, or city statute under which he

 seeks relief for alleged discrimination, workplace harassment, intentional infliction of emotional

 distress, negligent infliction of emotional distress, or defamation. As a result, Defendants cannot

 at this time ascertain whether the Court has federal question jurisdiction over those claims.

         5.       Plaintiff does, however, identify a federal statute for his sixth cause of action. In

 that claim, Plaintiff alleges that he was unlawfully denied a medical leave pursuant to the FMLA.

 Id. ¶¶ 105-110; see also id. ¶¶ 44-48.

         6.       Plaintiff also identifies the FMLA in the second “Wherefore” paragraph in the

 Complaint, in which he seeks an injunction to enjoin the denial of his “request for a FMLA Leave.”

 See id. at 10.

         7.       In light of the foregoing, Defendants seek removal of this case to federal court

 because this Court has original federal question jurisdiction over this action under 28 U.S.C. §

 1331. As set forth above, the Complaint alleges violations of the FMLA. The FMLA is a law of

 the United States and Act of Congress affecting commerce. See 29 U.S.C. §§ 2601 et seq.

 Consequently, the case is removable to this Court pursuant to 28 U.S.C. § 1441(a).

         8.       Moreover, the Court has supplemental jurisdiction over the entire case pursuant to

 28 U.S.C. § 1367 because all of Plaintiff’s claims are related and arise from a common nucleus of
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 operative fact. For example, Plaintiff’s allegations of discrimination and harassment based upon

 his alleged disability are related to the alleged denial of his medical leave, insofar as he alleges

 that he was entitled to FMLA leave on account of his alleged disability. Plaintiff also alleges that

 his emotional distress damages arise, at least in part, from the Defendants’ failure to accommodate

 his disability, which Defendants understand to include the alleged denial of FMLA leave.

        9.      Further, based on their review of the Complaint, Defendants reasonably anticipate

 that Plaintiff intended to file his “discrimination” and “workplace harassment” claims under

 federal law. However, he omitted any mention of a statute (whether federal, state, or city law) for

 those claims. In any case, at a minimum, the sixth cause of action in the Complaint for alleged

 FMLA violations specifically seeks relief pursuant to a federal statute.

        10.     This Notice of Removal has also been timely filed. Defendants were first served

 with the Summons and Complaint on November 5, 2024. See Ex. C to Reiter Decl. Accordingly,

 their deadline to remove the case is December 5, 2024. Therefore, Defendants have timely filed

 this Notice of Removal because it is within 30 days of being served with the Summons and

 Complaint. 28 U.S.C. §1446(b)(3); see, e.g., Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc.,

 526 U.S. 344, 347-48 (1999); Peterkin v. FedEx Freight, Inc., No. 20-CV-04439-EK-JRC, 2021

 WL 5508093, at *6 (E.D.N.Y. Sept. 14, 2021) (citing Murphy Bros. and holding that the 30-day

 removal period ran from defendant’s acceptance of service of process via stipulation between

 counsel), adopted in full by 2021 WL 4520032 (E.D.N.Y. Oct. 4, 2021).

        11.     Defendants have not participated in the State Court Action, apart from the signature

 and filing of the Stipulation attached hereto as Exhibit K.

        12.     No previous application has been made for the relief requested herein.
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        13.     Removal to this Court is proper because it is “the district and division embracing

 the place where such action is pending.” 28 U.S.C. § 1441(a). Therefore, this action is properly

 removed to the United States District Court for the Eastern District of New York pursuant to 28

 U.S.C. § 112(c).

        14.     Pursuant to 28 U.S.C. § 1446(a) and Local Rule 81.1, copies of all process,

 pleadings, and orders are attached as exhibits to the declaration of Nicholas M. Reiter. The State

 Court Action has not involved any proceedings, except the State Court has scheduled a hearing on

 December 19, 2024 regarding Plaintiff’s request for injunctive relief. See Ex. J to Reiter Decl.

 Pursuant to the same scheduling order, the State Court denied Plaintiff’s application for a

 temporary restraining order. See id.

        15.     In filing this Notice of Removal, Defendants do not waive any defenses that may

 be available, including, without limitation, defenses for lack of jurisdiction, improper venue, and

 the failure of the allegations in the Complaint to state a claim upon which relief may be granted.

 Defendants also do not admit any of the factual allegations in the Complaint. Defendants expressly

 reserve the right to contest these allegations at the appropriate time.

        16.     Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal shall be

 concurrently served upon Plaintiff’s counsel and a copy shall be promptly filed with the Clerk of

 the Supreme Court of the State of New York, County of Kings.

        17.     Federal jurisdiction is therefore appropriate pursuant to 28 U.S.C. § 1331.

        WHEREFORE Defendants The New York Public Library, Zena George, Charmaine

 McFarlane, Ben Sapadin, Terrance Neal, and Jessica Rosenthal respectfully remove this action

 from the Supreme Court of the State of New York, County of Kings, to this Court pursuant to 28

 U.S.C. § 1441(a).
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 Dated: New York, New York         VENABLE LLP
        November 15, 2024

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